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            2
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            7

            8                             UNITED STATES DISTRICT COURT
                                              DISTRICT OF ARIZONA
            9

            10   Norma Lopez, individually and on            Case No. _______________________
                 behalf of all others similarly situated,    FLSA Collective Action
            11                                               FED. R. CIV. P. 23 Class Action
            12                          Plaintiff,
                                                              Plaintiff’s Original Class and
            13   vs.                                          Collective Action Complaint for
PARMET PC




                                                              Damages
            14
                 Centene Corporation,
            15
                                        Defendant.
            16
                                                      SUMMARY
            17
                                Like many other companies across the United States, Centene’s
            18
                 timekeeping and payroll systems were affected by the hack of Kronos in 2021.
            19
                                That hack led to problems in timekeeping and payroll throughout
            20
                 Centene’s organization.
            21
                                In particular, hourly and non-FLSA-exempt workers, like Norma Lopez,
            22
                 were not paid for all overtime hours worked after the onset of the Kronos hack.
            23
                                Centene could have easily implemented a system for recording and
            24
                 paying overtime hours to hourly and non-exempt employees until issues related to the
            25
                 hack were resolved.
            26

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            1                   But it didn’t. Instead, Centene used prior pay periods or reduced payroll
            2    estimates to avoid paying overtime to these hourly and non-exempt employees.
            3                   Centene pushed the cost of the Kronos hack onto the most economically
            4    vulnerable people in its workforce.
            5                   The burden of the Kronos hack was made to fall on front-line workers—
            6    average Americans—who rely on the full and timely paymet of their wages to make
            7    ends meet.
            8                   Meanwhile, Centene’s salaried, FLSA-exempt managers and executives
            9    continued to take home their full paychecks.
            10                  Centene’s failure to pay overtime wages for all overtime hours worked
            11   violates the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201, et seq. and applicable
            12   state law.
            13                  Lopez brings this lawsuit to recover these unpaid overtime wages and
PARMET PC




            14   other damages owed by Centene to her and the hourly and non-exempt workers like
            15   her, who were the ultimate victims of not just the Kronos hack, but Centene’s decision
            16   to make its hourly and non-exempt workers bear the economic burden for the hack.
            17                  It’s not the first time Centene has refused to pay its hourly or non-exempt
            18   workers what they’re owed.
            19                  For example, Lopez, and other Centene workers at the Lopez prison
            20   complex in Arizona weren’t paid for all hours they worked each day, even when they
            21   worked over 40 in a workweek.
            22                  The US Department of Labor even conducted an investigation, found
            23   that Centene owed overtime to Lopez and other employees, and requested it issue
            24   backpay to Lopez and affected employees.
            25                  It never did.
            26

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            1                   This action seeks to recover the unpaid overtime wages and other
            2    damages owed by Centene to all these workers, along with the penalties, interest, and
            3    other remedies provided by federal and state law.
            4                                    JURISDICTION & VENUE
            5                   This Court has original subject matter jurisdiction pursuant to 28 U.S.C.
            6    § 1331 because this action involves a federal question under the FLSA. 29 U.S.C. §
            7    216(b).
            8                   The Court has supplemental jurisdiction over any state law sub-classes
            9    pursuant to 28 U.S.C. § 1367.
            10                  Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because
            11   Centene resides in this District.
            12                  Lopez worked for Centene in this District.
            13                  Therefore, venue is also proper in this Court pursuant to 28 U.S.C. §
PARMET PC




            14   1391(b) because a substantial part of the events or omissions giving rise to the claim
            15   occurred in this District.
            16                                           PARTIES
            17                  Plaintiff Norma Lopez was, at all relevant times, an employee of
            18   Centene.
            19                  Lopez has worked for Centene since June 2013.
            20                  Lopez’s written consent is attached as Exhibit A.
            21                  Lopez represents at least two groups of similarly situated Centene
            22   workers.
            23                  Lopez represents a collective of similarly situated workers under the
            24   FLSA pursuant to 29 U.S.C. § 216(b). This “FLSA Collective” is defined as:
            25
                                All current or former employees of Centene who were paid by
            26                  the hour or who were non-exempt under the FLSA and who

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                                worked for Centene in the United States at any time since the
            1
                                onset of the Kronos ransomware attack in 2021 to the present.
            2

            3                   Lopez represents a class of similarly situated hourly employees under

            4    Arizona law pursuant to Federal Rule of Civil Procedure 23. This “Arizona Class” is

            5    defined as:

            6                   All current or former employees of Centene who were paid by
                                the hour or who were non-exempt under the FLSA and who
            7
                                worked for Centene in Arizona at any time since the onset of
            8                   the Kronos ransomware attack in 2021 to the present.
            9
                                Together, throughout this Complaint, the FLSA Collective members and
            10
                 Arizona Class Members are referred to as the “Similarly Situated Workers.”
            11
                                Defendant Centene Corporation d/b/a Centurion Health f/k/a
            12
                 MHM Services, Inc. (“Centene”) is an foreign corporation.
            13
PARMET PC




                                Centene conducts business in a systematic and continuous manner
            14
                 throughout Arizona and this District.
            15
                                Centene may be served by service upon its registered agent, CT
            16
                 Corporation System, 3800 N. Central Ave., Ste. 460, Phoenix, AZ 85012, or by any
            17
                 other method allowed by law.
            18
                                             COVERAGE UNDER THE FLSA
            19
                                At all relevant times, Centene was an employer of Lopez within the
            20
                 meaning of Section 3(d) of the FLSA, 29 U.S.C. § 203(d).
            21
                                At all relevant times, Centene was and is an employer of the National
            22
                 and FLSA Collective Members within the meaning of Section 3(d) of the FLSA, 29
            23
                 U.S.C. § 203(d).
            24
                                Centene was and is part of an enterprise within the meaning of Section
            25
                 3(r) of the FLSA, 29 U.S.C. § 203(r).
            26

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            1                   During at least the last three years, Centene has had gross annual sales in
            2    excess of $500,000.
            3                   Centene was and is part of an enterprise engaged in commerce or in the
            4    production of goods for commerce within the meaning of the FLSA, 29 U.S.C. §
            5    203(s)(1).
            6                   Centene employs many workers, including Lopez, who are engaged in
            7    commerce or in the production of goods for commerce and/or who handle, sell, or
            8    otherwise work on goods or materials that have been moved in or produced for
            9    commerce by any person.
            10                  The goods and materials handled, sold, or otherwise worked on by
            11   Lopez, and other Centene employees and that have been moved in interstate
            12   commerce include, but are not limited to, computers, peripherals, and electronic
            13   equipment.
PARMET PC




            14                                             FACTS
            15                  Centene is a managed care and health care corporation that operates and
            16   serves both government sponsored and privately insured health care programs.
            17   Fortune, Centene, https://fortune.com/company/centene/ (last accessed Mar. 2, 2022).
            18                  Centene was ranked No. 24 on Forbes’ Fortune 100 list for 2021.
            19                  Centene employs around 72,500 people. Centene, Who We Are,
            20   https://www.centene.com/who-we-are.html (last accessed Mar. 2, 2022).
            21                  Many of Centene’s 72,500 employees are paid by the hour or are non-
            22   exempt salaried workers.
            23                  Since at least 2021, Centene has used timekeeping software and hardware
            24   operated and maintained by Kronos.
            25                  In 2021, Kronos was hacked with ransomware .
            26                  The Kronos interfered with its clients, including Centene’s, ability to use
            27   Kronos’s software and hardware to track hours and pay employees.
            28

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            1                   Since the onset of the Kronos hack, Centene has not kept accurate track
            2    of the hours that Lopez and other similarly situated employees have worked.
            3                   Instead, Centene has estimated the number of hours Lopez and other
            4    similarly situated employees have worked in each pay period.
            5                   Even worse, Centene has issued paychecks based on their scheduled
            6    hours, or has simply duplicated paychecks from pay periods prior to the Kronos hack.
            7                   This means that employees who were either hourly or non-exempt, and
            8    who worked overtime, were in many cases paid less than the hours they worked in the
            9    workweek, including overtime hours.
            10                  Lopez is one such employee.
            11                  Instead of paying Zeigler for the hours she actually worked (including
            12   overtime hours), Centene simply paid based on the lower, pre-Kronos number of hours
            13   she happened to work.
PARMET PC




            14                  Centene knows it has to pay overtime to hourly and non-exempt
            15   employees.
            16                  Centene knows this because, prior to the Kronos hack, it routinely paid
            17   these workers overtime.
            18                  Centene could have instituted any number of methods to accurately track
            19   and timely pay its employees for all hours worked.
            20                  Instead of accurately tracking hours and paying employees their
            21   overtime, Centene decided to arbitrarily pay these employees, without regard to the
            22   overtime they were owed.
            23                  It was feasible for Centene to have its employees and managers report
            24   accurate hours so they could be paid for the work they did for the company.
            25                  But it didn’t do that.
            26                  In other words, Centene pushed the effects of the Kronos hack onto the
            27   backs of its most economically vulnerable workers, making sure that it kept the money
            28

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            1    it owed to those employees in its own pockets, rather than take steps to make sure its
            2    employees were paid on time and in full for the work they did.
            3                   Lopez is one such employee.
            4                   Lopez was and is an hourly employee of Centene.
            5                   Lopez regularly works over 40 hours per week for Centene.
            6                   Lopez’s normal, pre-Kronos hack hours are reflected in Centene’s
            7    records.
            8                   After the Kronos hack, however, Centene paid Lopez only at the same
            9    number of hours as her last paycheck prior to the hack rather than her actual hours
            10   worked each week, even though Lopez was working more than those hours each week
            11   after the hack.
            12                  Since the hack took place, Centene has not been accurately recording the
            13   hours worked by Lopez and its other workers.
PARMET PC




            14                  Centene was aware of the overtime requirements of the FLSA.
            15                  Centene nonetheless failed to pay certain hourly and non-exempt
            16   employees, such as Lopez, overtime.
            17                  Centene’s failure to pay overtime to these hourly and non-exempt
            18   workers was, and is, a willful violation of the FLSA.
            19                  Centene has long known about the FLSA’s requirements.
            20                  Centene has also violated the FLSA before.
            21                  Lopez, for example, was one of many Centene employees who were not
            22   paid for all hours worked at the Arizona State Prison – Lopez.
            23                  Lopez and other Centene hourly workers at the Arizona State Prison –
            24   Lopez were able to clock in only after going through at least 30-45 minutes of security
            25   screening and other preliminary check-in procedures each day.
            26

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            1                   Lopez and other Centene hourly workers at the Arizona State Prison –
            2    Lopez then had to clock out when they had another 30-45 minutes, or more, of check-
            3    out procedures.
            4                   Lopez and other Centene hourly workers at the Arizona State Prison –
            5    Lopez were not paid for this time or other hours they worked for Centene.
            6                   The US Department of Labor invesitigated and found Centene owed
            7    unpaid wages to Lopez and the other workers.
            8                   To date, however, these wages remain unpaid.
            9                   Centene continues to flaunt federal and state wage laws.
            10                             COLLECTIVE ACTION ALLEGATIONS
            11                  Lopez incorporates all other allegations.
            12                  Numerous individuals were victimized by Centene’s patterns, practices,
            13   and policies, which are in willful violation of the FLSA.
PARMET PC




            14                  Based on her experiences and tenure with Centene, Lopez is aware that
            15   Centene’s illegal practices were imposed on the FLSA Collective.
            16                  The FLSA Collective members were not paid for all overtime hours
            17   worked.
            18                  These employees are victims of Centene’s respective (to each Collective)
            19   unlawful compensation practices and are similarly situated to Lopez in terms of the
            20   pay provisions and employment practices at issue in the respective collectives in this
            21   lawsuit.
            22                  The workers in each collective were similarly situated within the meaning
            23   of the FLSA.
            24                  Any differences in job duties do not detract from the fact that these hourly
            25   and non-exempt workers were entitled to overtime pay.
            26

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            1                   Centene’s failure to pay overtime compensation at the rates required by
            2    the FLSA result from generally applicable, systematic policies, and practices, which
            3    are not dependent on the personal circumstances of the FLSA Collective members.
            4                   The FLSA Collective should be notified of this action and given the
            5    chance to join pursuant to 29 U.S.C. § 216(b).
            6                                 CLASS ACTION ALLEGATIONS
            7                   Lopez incorporates all other allegations.
            8                   The illegal practices Centene imposed on Lopez were likewise imposed
            9    on the Arizona Class Members.
            10                  Numerous other individuals who worked for Centene were were not
            11   properly compensated for all hours worked, as required by Arizona law.
            12                  The Arizona Class is so numerous that joinder of all members of the class
            13   is impracticable.
PARMET PC




            14                  Centene imposed uniform practices and policies on Lopez and the
            15   Arizona Class members regardless of any individualized factors.
            16                  Based on her experience and tenure with Centene, as well as coverage of
            17   the Kronos hack, Lopez is aware that Centene’s illegal practices were imposed on the
            18   Arizona Class members.
            19                  Arizona Class members were all not paid proper overtime when they
            20   worked in excess of 40 hours per week.
            21                  Centene’s failure to pay wages and overtime compensation in accordance
            22   with Arizona law results from generally applicable, systematic policies, and practices
            23   which are not dependent on the personal circumstances of the Arizona Class
            24   Members.
            25                  Lopez’s experiences are therefore typical of the experiences of the
            26   Arizona Class members.
            27

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            1                   Lopez has no interest contrary to, or in conflict with, the members of the
            2    Arizona Class. Like each member of the proposed class, Lopez has an interest in
            3    obtaining the unpaid overtime wages and other damages owed under the law.
            4                   A class action, such as this one, is superior to other available means for
            5    fair and efficient adjudication of the lawsuit.
            6                   Absent this action, many Arizona Class members likely will not obtain
            7    redress of their injuries and Centene will reap the unjust benefits of violating Arizona
            8    law.
            9                   Furthermore, even if some of the Arizona Class members could afford
            10   individual litigation against Centene, it would be unduly burdensome to the judicial
            11   system.
            12                  Concentrating the litigation in one forum will promote judicial economy
            13   and parity among the claims of individual members of the classes and provide for
PARMET PC




            14   judicial consistency.
            15                  The questions of law and fact common to each of the Arizona Class
            16   members predominate over any questions affecting solely the individual members.
            17   Among the common questions of law and fact are:
            18
                                   a. Whether the Arizona Overtime Class Members were not paid
            19                        overtime at 1.5 times their regular rate of pay for hours worked in
                                      excess of 40 in a workweek;
            20
                                   b. Whether Centene’s failure to pay overtime at the rates required by
            21
                                      law violated the Arizona Wage Act;
            22
                                   c. Whether Centene knowingly benefitted at the expense of the
            23                        Arizona Class members; and
            24                     d. Whether allowing Centene to retain the benefit it obtained at the
            25
                                      expense of the Arizona Class members would be unjust.

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            1                   Lopez’s claims are typical of the Arizona Class members. Lopez and the
            2    Arizona Class members have all sustained damages arising out of Centene’s illegal and
            3    uniform employment policies.
            4                   Lopez knows of no difficulty that will be encountered in the management
            5    of this litigation that would preclude its ability to go forward as a class or collective
            6    action.
            7                   Although the issue of damages may be somewhat individual in character,
            8    there is no detraction from the common nucleus of liability facts. Therefore, this issue
            9    does not preclude class or collective action treatment.
            10                    FIRST CAUSE OF ACTION—VIOLATIONS OF THE FLSA
            11                  Lopez incorporates each other allegation.
            12                  Centene has violated, and is violating, section 7 of the FLSA, 29 U.S.C.
            13   § 207, by compensating employees on an hourly basis in an enterprise engaged in
PARMET PC




            14   commerce or in the production of goods for commerce within the meaning of the
            15   FLSA for workweeks longer than 40 hours without compensating the FLSA Collective
            16   members for their employment in excess of 40 hours per week at rates no less than 1.5
            17   times the regular rates for which they were employed.
            18                  Centene knowingly, willfully, or in reckless disregard carried out this
            19   illegal pattern and practice of failing to pay the FLSA Collective members overtime
            20   compensation.
            21                  Centene’s failure to pay overtime compensation to these FLSA Collective
            22   members was neither reasonable, nor was the decision not to pay overtime made in
            23   good faith.
            24                  Accordingly, Lopez and the FLSA Collective members are entitled to
            25   overtime wages under the FLSA in an amount equal to 1.5 times their rate of pay, plus
            26   liquidated damages, attorney’s fees, and costs.
            27

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            1          SECOND CAUSE OF ACTION—VIOLATIONS OF THE ARIZONA WAGE ACT
            2                   Lopez incorporates all other allegations.
            3                   The conduct alleged in this Complaint violates the Arizona Wage Act,
            4    ARS 23-350, et seq.
            5                   Centene was and is an “employer” within the meaning of the Arizona
            6    Wage Act. ARS § 23-350(3).
            7                   At all relevant times, Centene employed Lopez and each other Arizona
            8    Overtime member as “employees” within the meaning of the Arizona Wage Act. ARS
            9    § 23-350(2).
            10                  Lopez and the other Arizona Overtime Class members were required by
            11   law to be paid overtime wages for all overtime hours worked.
            12                  Lopez and the other Arizona Overtime Class members had a reasonable
            13   expectation Centene would pay them wages as required by the FLSA.
PARMET PC




            14                  Lopez and the other Arizona Overtime Class members had a reasonable
            15   expectation Centene would pay them wages as required by federal law.
            16                  Lopez and the other Arizona Overtime Class members had a reasonable
            17   expectation Centene would pay them wages as required by Arizona law.
            18                  Lopez and the other Arizona Overtime Class members had a reasonable
            19   expectation Centene would pay them at a rate at least 1.5 times their regular rate of
            20   pay for hours worked in excess of 40 in a workweek.
            21                  Within the applicable limitations period, Centene had a policy and
            22   practice of failing to pay proper overtime to the Arizona Overtime Class members for
            23   their hours worked in excess of 40 hours per week.
            24                  The wages and overtime owed to Lopez and each other Arizona
            25   Overtime member were due to be paid not later than 16 days after the end of the of
            26   the most recent pay period. ARS § 23-351(C)(3).
            27

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            1                   The wages and overtime owed to each Arizona Overtime member who
            2    left the employment of Centene were due to be paid not later seven days after
            3    termination, or at the end of the next regular pay period. ARS § 23-353(A)-(B).
            4                   The Arizona Wage Act prohibits an employer from withholding or
            5    diverting any portion of an employee’s wages unless they are required or empowered
            6    to do so by state or federal law, or the employee has authorized the withholding in
            7    writing. ARS § 23-352.
            8                   Centene was not required under Arizona or federal law to withhold the
            9    wages and overtime pay due to Lopez and the Arizona Overtime Class members.
            10                  Centene was not empowered under Arizona or federal law to withhold
            11   the wages and overtime pay due to Lopez and the Arizona Overtime Class members.
            12                  Neither Lopez nor the Arizona Overtime Class members authorized
            13   Centene to withhold the wages and overtime pay due to them.
PARMET PC




            14                  Centene has not paid these overtime wages to Lopez and each other
            15   Arizona Overtime member.
            16                  As a result of Centene’s failure to pay proper overtime to Lopez and the
            17   Arizona Overtime Class members for work performed in excess of 40 hours in a
            18   workweek, Centene violated the Arizona Wage Act.
            19                  Lopez and the Arizona Overtime Class members are entitled to overtime
            20   wages under Arizona law in an amount equal to three times their unpaid wages, plus
            21   attorney’s fees and costs. ARS § 23-355(A).
            22                      THIRD CAUSE OF ACTION—UNJUST ENRICHMENT
            23                  Lopez incorporates all other allegations.
            24                  Centene’s acts and omissions in denying proper overtime pay to Lopez
            25   and the Arizona Class members was done knowingly, willfully, or with reckless
            26   disregard to the rights of Lopez and the Arizona Class members.
            27

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            1                   As a result of its unlawful acts and omissions, Centene received
            2    substantial benefit in the form of financial compensation that rightfully belonged to
            3    Lopez and the Arizona Class Members.
            4                   It would be unjust to allow Centene to retain these benefits, which were
            5    gained through unlawful means, including but not limited to, failing to pay Lopez and
            6    the Arizona Class members the wages and overtime they were entitled to under
            7    Arizona law.
            8                   Centene has been unjustly enriched by its unlawful acts and omissions.
            9                                           DAMAGES
            10                  Centene’s acts and omissions, individually and collectively, caused Lopez
            11   and the Similarly Situated Workers to sustain legal damages.
            12                  Lopez and the FLSA Collective members are entitled to overtime wages
            13   in an amount equal to 1.5 times their regular rates of pay, plus liquidated damages,
PARMET PC




            14   attorney’s fees, and costs. 29 U.S.C. § 216(b).
            15                  Lopez and the Arizona Overtime Class members are entitled to overtime
            16   wages under the Arizona Wage Act in an amount equal to three times their unpaid
            17   wages, plus attorney’s fees and costs. ARS § 23-355(A).
            18                  Lopez and the Arizona Class members are entitled to recover for
            19   Centene’s unjust enrichment, including restitution and penalties.
            20                  Lopez and the Similarly Situated Workers are entitled to recover
            21   attorneys’ fees and costs of court.
            22                  Lopez and the FLSA Collective members are entitled to recover
            23   liquidated damages under the FLSA.
            24                  Lopez and the Arizona Overtime Class members are entitled to treble
            25   damages under the Arizona Wage Act.
            26                  Lopez and the Similarly Situated Workers are entitled to pre- and post-
            27   judgment interest at the maximum legal rates.
            28

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            1                   A constructive trust should be imposed on Centene, and the Court should
            2    sequester any benefits or money wrongfully received by Centene at the expense of
            3    Lopez and the Arizona Class members.
            4                                         RELIEF SOUGHT
            5           Lopez prays for judgment against Centene as follows:
            6
                                a.      For an order certifying a collective action for the FLSA claims;
            7
                                b.      For an order certifying a class action for the Arizona law claims;
            8
                                c.      For an order finding Centene liable for violations of state and
            9                           federal wage laws with respect to Lopez and all FLSA Collective
            10
                                        and Arizona Class members covered by this case;

            11                  d.      For a judgment awarding all unpaid wages, liquidated damages,
                                        and penalty damages, to Lopez and all FLSA Collective members
            12                          covered by this case;
            13
PARMET PC




                                e.      For a judgment awarding all unpaid wages, treble damages,
            14                          penalty damages, and punitive damages, to Lopez and all Arizona
                                        Class members covered by this case;
            15
                                f.      For an order finding Centene was unjustly enriched by its
            16
                                        violations of Arizona law with respect to Lopez and all Arizona
            17                          Class members covered by this case;

            18                  g.      For an order imposing a constructive trust on Centene and
                                        sequestering the benefits and monies that it wrongfully obtained at
            19
                                        the expense of Lopez and the Arizona Class members;
            20
                                h.      For an order awarding restitution, penalties, and exemplary
            21                          damages to Lopez and all Arizona Class members covered by this
                                        case;
            22

            23
                                i.      For a judgment awarding costs of this action to Lopez all FLSA
                                        Collective and Arizona Class members covered by this case;
            24
                                j.      For a judgment awarding attorneys’ fees to Lopez and all FLSA
            25                          Collective and Arizona Class members covered by this case;
            26

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            1
                                k.      For a judgment awarding pre- and post-judgment interest at the
                                        highest rates allowed by law to Lopez and all FLSA Collective and
            2                           Arizona Class members covered by this case; and
            3                   l.      For all such other and further relief as may be necessary and
            4
                                        appropriate.

            5    Date: Mar. 2, 2022

            6                                              Respectfully submitted,
            7
                                                                 /s/ Matthew S. Parmet
            8                                              By: _____________________________
                                                                 Matthew S. Parmet
            9                                              PARMET PC
            10
                                                           Attorneys for Plaintiff
            11

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PARMET PC




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                 Pl’s Orig. Complaint                                                               - 16 -
